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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

    ANDREA GOLDBLUM,                             :
                                                 :
           Plaintiff,                            :       CASE NO. 1:19-cv-398
                                                 :
           v.                                    :       JUDGE MCFARLAND
                                                 :
    UNIVERSITY OF CINCINNATI,                    :       MAGISTRATE JUDGE BOWMAN
                                                 :
           Defendant.                            :

             DEFENDANT’S NOTICE OF WITHDRAWAL OF ITS REQUEST
                     FOR EXPERT WITNESS COSTS ONLY

        Defendant, the University of Cincinnati (“the University”), hereby withdraws its request to

 recover expert witness costs and the corresponding portions of its Motion for Taxation of Costs

 (Doc. No. 94) and Reply in Support of its Motion for Taxation of Costs (Doc. No. 101). The

 University withdraws its request for expert witness costs only and continues to seek the remaining

 costs outlined in its Motion for Taxation of Costs (Doc. No. 94) and Reply in Support of its Motion

 for Taxation of Costs (Doc. No. 101).

                                                      Respectfully submitted,

                                                      DAVE YOST (0056290)
                                                      Ohio Attorney General

                                                      /s/ Marissa J. Palumbo

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                                  CERTIFICATE OF SERVICE

        This will certify that the foregoing Defendant’s Notice of Withdrawal of its Request for

Expert Witness Costs Only was filed electronically on June 29, 2022. Notice of this filing will be

sent to all parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.


                                                    /s/ Marissa J. Palumbo

                                                    MARISSA J. PALUMBO (0089283)
                                                    Senior Assistant Attorney General




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